           Case 2:04-cr-00178-MJP          Document 200       Filed 01/14/11     Page 1 of 3




 1

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                                Plaintiff,         )    Case No. CR04-178-MJP
                                                     )
10                         v.                        )    PROPOSED FINDINGS OF FACT
                                                     )    AND DETERMINATION AS TO
11 JOSHUA LEE COLLIER,                               )    ALLEGED VIOLATIONS OF
                                                     )    SUPERVISED RELEASE
12                                Defendant.         )

13                                             INTRODUCTION

14      I conducted a hearing on alleged violations of supervised release in this case on January 14,

15 2011. The defendant appeared pursuant to warrant issued in this case. The United States was

16 represented by Lisca Borichewski, and defendant was represented by Terrence Kellogg. Also

17 present was U.S. Probation Officer Jennifer Van Flandern. The proceedings were digitally

18 recorded.

19                                SENTENCE AND PRIOR ACTION

20      Defendant was sentenced on September 9, 2005 by the Honorable Marsha J. Pechman for

21 Conspiracy to Distribute Cocaine, Distribution of cocaine, and Conspiracy to Manufacture

22 Marijuana. He received 60 months of detention and 5 years of supervised release.

23      On June 8, 2010, a warrant was issued after Mr. Collier failed to submit monthly reports and


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
           Case 2:04-cr-00178-MJP          Document 200        Filed 01/14/11      Page 2 of 3




 1 failed to report to the probation office as directed. On July 7, 2010, the Court modified Mr.

 2 Collier’s term of supervised release and added the condition that he participate in a mental health

 3 evaluation.

 4                              PRESENTLY ALLEGED VIOLATIONS

 5       In a petition dated December 23, 2010, U.S. Probation Officer Jennifer Van Flandern

 6 alleged that defendant violated the following conditions of supervised release:

 7       1. Committing the crime of possession of methamphetamine on or about September 6, 2010,

 8 in King County, Washington, in violation of the general condition that he not commit a federal,

 9 state, or local crime.

10       2. Failing to notify the probation officer within 72 hours of his September 6, 2010 arrest for

11 possession of methamphetamine, in violation of standard condition umber 11.

12       3. Failing to notify the probation officer within 72 hours of his December 20, 2010 arrest for

13 failing to appear in King County Superior Court related to his possession of methamphetamine,

14 in violation of standard condition number 11.

15                          FINDINGS FOLLOWING EVIDENTIARY HEARING

16       The Court found defendant in violation of violation number 1 through stipulated records.

17 Defendant admitted to violation number 2, and the government withdrew violation number 3.

18 Defendant waived any hearing as to whether they occurred, and was informed the matter would

19 be set for a disposition hearing January 28, 2011 at 2:30 p.m. before District Judge Marsha J.

20 Pechman.

21                          RECOMMENDED FINDINGS AND CONCLUSIONS

22       Based upon the foregoing, I recommend the court find that defendant has violated the

23 ///


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
           Case 2:04-cr-00178-MJP         Document 200        Filed 01/14/11     Page 3 of 3




 1 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 2       DATED this 14th day of January, 2011.

 3

 4

 5

 6
                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
